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                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7     UNITED STATES OF AMERICA,                            Case No. 2:07-CR-60 JCM (VCF)
                 8                                          Plaintiff(s),                     ORDER
                 9            v.
               10      LANCE GRANDBERRY, et al.,
               11                                         Defendant(s).
               12
               13            Presently before the court is defendant Laurice McCurdy’s (“defendant”) motion to vacate
               14     restitution. (ECF No. 229). The United States of America (“the government”) filed a response
               15     (ECF No. 233), to which defendant did not reply.
               16            Defendant requests this court vacate his outstanding restitution balance of $34,118.22.
               17     (ECF No. 229). Defendant’s request is predicated on the current COVID-19 pandemic, his
               18     inability to find employment, and the fact that defendant is the primary caregiver for his mother.
               19     Id. The government opposes the motion, noting that restitution was and is staturily required under
               20     the Mandatory Victims Restitution Act of 1996. (ECF No. 233 at 3 (citing 18 U.S.C. §§ 3663A–
               21     3664)). Defendant does not present a cogent legal argument to support the notion that his
               22     restitution order can be corrected, modified, adjusted, or vacated. (See ECF No. 229).
               23            Notably, the government does not oppose modifying defendant’s payment schedule in light
               24     of his economic circumstances. (ECF No. 233 at 4–5). The government represents that defendant
               25     has already contacted the Financial Litigation Unit, which provided him with guidance to adjust
               26     his payment schedule. Id.
               27            The court denies defendant’s motion, but notes that defendant may adjust his payment
               28     schedule with the government and petition this court to modify that schedule if necessary.

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                1            Accordingly,
                2            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant’s motion to
                3     vacate restitution (ECF No. 229) be, and the same hereby is, DENIED.
                4            DATED July 17, 2020.
                5                                                __________________________________________
                                                                 UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                               -2-
